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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


    UNITED STATES OF AMERICA

          v.                                        Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,

        Defendants.


               (PROPOSED) ORDER GRANTING ALEX NAIN SAAB MORAN’S
                       MOTION TO DISMISS THE INDICTMENT

           This cause has come before the Court on the Defendant Alex Nain Saab Moran’s

    Motion To Dismiss The Indictment, ECF No. _____. This Court having considered the Motion

    and all related briefing, it is hereby ORDERED AND ADJUDGED that:

         1.      The Motion is GRANTED.

         2.      The Government shall immediately release Alex Nain Saab Moran from custody.

         DONE AND ORDERED at Miami, Florida, on _____________             ____, 2022.


                                                            Robert N. Scola, Jr.
                                                            United States District Judge




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